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  UNITED STATES DISTRICT COURT                               EASTERN DISTRICT OF TEXAS


 ZACHARY L. MOYE,                                 §
                                                  §
                 Plaintiff,                       §
                                                  §
 versus                                           §   CIVIL ACTION NO. 1:17-CV-525
                                                  §
 SCHUYLER LEVIAS, et al.,                         §
                                                  §
                 Defendants.                      §

                 MEMORANDUM ORDER ADOPTING THE MAGISTRATE
                    JUDGE’S REPORT AND RECOMMENDATION

          Plaintiff Zachary L. Moye, a prisoner previously confined at the Stiles Unit of the Texas

 Department of Criminal Justice, Correctional Institutions Division, proceeding pro se and in forma

 pauperis, filed this civil rights action pursuant to 42 U.S.C. § 1983 against Schuyler Levias,

 Danny J. Landrum, Tammy G. Bassett, and Tvette D. Hall.

          The court referred this matter to the Honorable Keith F. Giblin, United States Magistrate

 Judge, at Beaumont, Texas, for consideration pursuant to applicable laws and orders of this court.

 The magistrate judge recommends granting defendants’ motion for summary judgment and

 dismissing the action.

          The court has received and considered the Report and Recommendation of United States

 Magistrate Judge filed pursuant to such order, along with the record, pleadings and all available

 evidence. No objections to the Report and Recommendation of United States Magistrate Judge

 were filed by the parties.
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                                          ORDER

       Accordingly, the findings of fact and conclusions of law of the magistrate judge are

 correct, and the report of the magistrate judge (#58) is ADOPTED. Defendants’ motion for

 summary judgment (#48) is GRANTED. A final judgment will be entered in this case in

 accordance with the magistrate judge’s recommendation.


        SIGNED at Beaumont, Texas, this 17th day of September, 2020.




                                         ________________________________________
                                                     MARCIA A. CRONE
                                              UNITED STATES DISTRICT JUDGE




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